     Case 3:23-cv-00155 Document 9-1 Filed on 08/01/23 in TXSD Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

 BRIANNE DRESSEN, et al.,

              Plaintiffs,

       v.
                                             Civil Action No. 3:23-cv-155
 ROB FLAHERTY, WHITE HOUSE
 DIRECTOR OF DIGITAL STRATEGY, IN
 HIS OFFICIAL CAPACITY, et al.,

              Defendants.


                                [PROPOSED] ORDER

      Before the Court is Plaintiffs’ motion for Casey B. Norman to appear as attorney-

in-charge in this matter. The Court hereby grants the motion.

      Signed on Galveston Island this ____ day of ___________, 2023.




                                              JEFFREY VINCENT BROWN
                                              UNITED STATES DISTRICT JUDGE
